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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF Ol-IIO
EASTERN DIVISION

CHARLES D. MCNAMEE, et al., :

Case No.. 2:14-CV-1948
Plalotiffs,

JUDGE ALGENON L. MARBLEY
v.

Magistrate Judge Vascura
NATIONSTAR MORTGAGE, LLC,

o ne ** co co go ns 00

Defendant.

OPINION & ORDER

 

This matter is before the Court on Plaintifi`s’ Motion to Certify C]ass. (ECF No. 48).
The Court held a Class Certiiication Hearing on Thursday, March 29, 2018 at 10:00 a.m. (ECF
No. 56). After consideration of the memoranda related to class certification and the oral
argument of the parties, and for the reasons set forth bclow, the Court GRANTS the Motion and
certifies the classes.

l. BACKGROUND
A. Factual Baekground

This case concerns Fair Debt Collection Practices Act (“FDCPA”) consequences of
letters that Defendant Nationstar Mortgage sent to PlaintiH` Charles McNamee and others
similarly situated.

Nearly a decade ago, Mr. McNamee took out a mortgage on his home in Mcchanicsburg,
Ohio, through American Eagle Mortgage Company. (ECF No. l). He executed a Note in the
amount of $181,936.00, payable to American Eagle. (Id.). Eventually, American Eagle
endorsed the Note to an intermediary mortgage company, which, in turn, endorsed the Note to

Bank of America, N.A. (Id.).

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In 2012, Mr. McNamee found himself in default on the Note. (Id.). He and his wife filed
jointly for voluntary Chapter 7 bankruptcy. (!d.). As part of the bankruptcy proceedings, Mr.
McNamee filed a Statement of Intention pursuant to 1 l U.S.C. § 521(a)(2)(A) informing Bank of
America that he and his wife intended to surrender the Mechanicsburg property. (!d.). They
physically vacated the property as the bankruptcy proceedings continued. (Id.). Mr. McNarnee
received a Chapter 1 discharge in September 2012, and, upon the request of Bank of Arnerica,
the Chapter 7 Trustee abandoned the bankruptcy estate’s interest in the property. (Id.).

Aiter the bankruptcy, Bank of America assigned the mortgage on the property to
Defendant Nationstar. (Id.).

Nationstar began to send Mr. McNamee correspondence that would ultimately become
the focal point of this litigation. Speciiically, it sent Mr. McNamee two letters on December 17,
2012, informing him that it took over debt servicing for the mortgage (Id.). On December 31,
2012, it sent a letter indicating that it was seeking to collect $22,439.32 on the mortgage on
behalf of Ginnie Mae. (Id.). And once a month ii'om January 2013 to .lanuary 2015, Nationstar
sent Mr. McNamee a “Mortgage Loan Statement” that specified, among other things, an
“Amount Due“ and “Payment Due Date,” and warned him not to delay payment lest Nationstar
report his account to credit bureaus. (Id.).

As it continued to send the Mortgage Loan Statement letters to Mr. McNamee, Nationstar
commenced an in rem foreclosure proceeding in the Champaign County Court of Common
Pleas. (Id.) . ln October 2013, it obtained a final decree of foreclosure on the property. (Id.).

Nationstar then acquired force-placed insurance on the property, advancing $4,552.00 to
pay for coverage. (Id.). The company began sending Mr. McNamee Forced-Placed Insurance

letters telling him that the cost of the insurance would result in costs to him. (Id.)

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As of the time Mr. McNamee filed his Motion for Class Certitication, Nationstar has not
yet sold the house (Id.).

lt is Mr. NcNamee’s contention that the Mortgage Loan Staternents and the Force-Placed
lnsurance communications were in the nature of debt collection, and that the “continuous and
voluminous collection activity" against him after he vacated the house was in violation of the
FDCPA and ll U.S.C. §524(a). Specifically, he contends that the communications violated 15
U.S.C. §1692¢(2)(A) “because they gave Piaintiff a false and misleading impression that his debt
serviced by Nationstar remained collectible even though such debt was lawfillly discharged in
his U.S. Bankruptcy proceeding,” violated 15 U.S.C. §1692e(5) and (8) “because they falsely
represented that Nationstar could or would actually report ‘late payments‘ and ‘other defaults’
about Plaintiff to the credit bureaus” and violated ll U.S.C. §524(a) “because they constitute
attempts to collect discharged debts and obligations.” (ECF No. 48 at 13). He therefore wishes
to represent “those individuals who, like him, vacated the surrendered residences and condoned
to receive the Mortgage Loan Statements, and Force-Placed Insurance communications
thereafter." (Id. at l$).

B. Procedural History

ln 2013, Mr. McNamee iiled suit against Nationstar in the United States Banlcruptcy
Court for the Southern District of Ohio, seeking an order of contempt and sanctions on behalf of
himself and those similarly situated. Nationstar filed a Motion to Dismiss, which the Bankruptcy
Court granted as to Mr. McNamee’s request to represent a nationwide class but denied as to Mr.
McNamee’s request to represent a district-wide class.

Mr. McNamee then filed this FDCPA class action in October 2014, alleging claims under

15 U.S.C. §1692¢, which generally proscribes false and misleading representations in debt

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collection, and §1692£, which prohibits the use of unfair or unconscionable means to collect or
attempt to collect debts. (ECF No. l). Nationstar moved to dismiss Mr. McNamee’s §1692f
claims; this Court granted the motion on September 4, 2015. (ECF No. 20). Only the §1692e
claims remain.

Plaintiffs now seek to certify the following classes as to the §1692e claims:

Class 1 (Nationwide): as to the Issues of FDCPA Llability and Statutory Dalnages:
Any person who (i) who received a Chapter 7 bankruptcy discharge in a bankruptcy case
filed in the U.S. Bankruptcy Courts on or after January 1, 2012 and on or before January
31, 2015; (ii) who filed and served a Statement of lntention therein pursuant to 11 U.S.C.
§521(a)(2)(A) stating an intention to surrender residential real property that was/is
security for a debt serviced by Nationstar; and (iii) who, after vacating the real property,
were mailed by Nationstar, one or more Mortgage Loan Statements of the type
exemplified by the attached Exetnplar Exhibit A;

CLASS 2 (Nationwide): as to the lssues of FDCPA Liability and Statutory
Damages: Any person who (i) received a Chapter 7 bankruptcy discharge in a
bankruptcy case filed in the U.S. Bankruptcy Courts on or after January 1, 2012 and the
present; (ii) who filed and served a Statement of lntention pursuant to 11 U.S.C.
§521(a)(2)(A) stating an intention to surrender residential real property that was!is
security for a debt serviced by Nationstar; and (iii) who, alter vacating the real property,
were mailed by Nationstar, at least one Force-Placed lnsurancc letter of the type
exemplified by the attached Exemplar Exhibits B and C;

CLASS 3 (S.D. Ohio): as to the lssue of Whether Nationstar Violated ll U.S.C.
§524(a): A.ny person who (i) who received a Chapter ‘i' bankruptcy discharge in a
bankruptcy case filed in the U.S. Bankruptcy Courts for the S.D. Ohio on or after January
1, 2012 and on or before January 31, 2015; (ii) who filed and served a Statement of
lntention therein pursuant to 11 U.S.C. §521(a)(2)(A) stating an intention to surrender
residential real property that was/is security for a debt serviced by Nationstar; and (iii)
who, after vacating the real property, were mailed by Nationstar, one or more Mortgage
Loan Statements of the type exemplified by the attached Exemplar Exhibit A;

CLASS 4 (S.D. Ohio): as to the Issue of Whether Nationstar Violated ll U.S.C.
§524(a): Any person who (i) received a Chapter 7 bankruptcy discharge in a bankruptcy
case filed in the U.S. Bankruptcy Courts for the S.D. Ohio on or after January l, 2012
and the present; (ii) who filed and served a Statement of lntention pursuant to ll U.S.C.
§521(a)(2)(A) stating an intention to surrender residential real property that was/is
security for a debt serviced by Nationstar; and (iii) who, after vacating the real property,
were mailed by Nationstar, at least one Force-Placed Insurance letter of the type
exemplified by the attached Exemplar Exhibits B and C.

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The issue of class certification is fully briefed and ready for review.
Il. STANDARD OF REVlEW

Federa] class actions are governed by Rule 23 of the Federal Rules of Civil Procedure. To
obtain class certification, Plaintiffs must Erst demonstrate that the putative class meets the
requirements of Rule 23(a) by showing that:

(l) the class is so numerous that joinder of all members is impracticable; (2) there are

questions of law or fact common to the class; (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the interests of the class.
FED. R. CIV. P. 23(a); see also Pilgrz'm v. Unfversai Hea!th Card, LLC, 660 F.3d 943, 945 (oth
Cir. 2011). Plaintiffs must also show that the class action falls into at least one of the three
categories set forth by Rule 23(b). WaI-Mart Store.s', Inc. v. Dukes, 564 U.S. 338, 345, 131 S.Ct.
2541, 180 L.Ed.2d 374 (2011). Here, Mr. McNamee seeks class certification under Rule
23(b)(3), which provides that class certification is appropriate if “the court finds that the
questions of law or fact common to class members predominate over any questions affecting
only individual members, and that a class action is superior to other available methods for fairly
and efficiently adjudicating the controversy.” FED. R. Clv. P. 23(b)(3).

In addition to satisfying these rules, “the class definition must be sufficiently definite so
that it is administratively feasible for the court to determine whether a particular individual is a
member of the proposed class.” Yotmg v. Nationwide Mut. Ins. Co., 693 F.3d 532, 537-38 (6th
Cir. 2012) (intemal quotation omitted). In other words, the proposed class must be ascertainable

Plaintiffs bear the burden of showing that these elements have been met. See Gen. Te!.

Co. v. Falcon, 457 U.S. 147, 161 (1982). Before certifying a class action, the Court must

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conduct a “rigorous analysis” to determine whether Plaintifi`s have met the requirements of Ru|e
23. Id. In ruling on a motion for class certification, the Court may not consider the merits of
Plaintiffs’ claims, but may consider evidence outside the pleadings to determine whether
Plaintiffs have met their burden. Er'sen v. Carlr'sle & Jacquelr'n, 417 U.S. 156, 177 (19'?4). The
Court has broad discretion in determining whether to certify a class. Gu{f Or‘l Co. v. Bemard,
452 U.S. 89, 100 (1981).
IIl. ANALYS|S

Nationstar argues that the proposed classes are subject to several fatal defects, namely:
(A) they are not ascertainable (B) they are overly broad, (C) they do not satisfy the commonality
requirement of Rule 23(a)(2) of the Federal Rules of Civil Procedure, (D) the putative class
representative does not have claims typical to the classes, and (E) they do not satisfy the
predominance and superiority requirements of Rule 23(b)(3) of the Federal Rules of Civil
Procedure. Ultimately, this Court holds that none of these arguments defeat Mr. McNamee’s
Motion for Class Certilication.

A. The Proposed Classes are Objectiveiy Ascertainable

The concept of “ascertainability” as it pertains to class actions “goes to whether the class
has been defined such that it encompasses an identifiable group.” Cerdant, Inc. v. DHL Express
(USA). Inc., No. 2:08-cv-186, 2010 WL 3397501, ll‘5 (S.D. Ohio Aug. 25, 2010). For a class to
be ascertainable “the court must be able to resolve the question of whether class members are
included or excluded from the class by reference to objective criteria” Yormg, 693 F.3d at 538.
The Court need not deny class certihcation due to the need to review individual files. ld. at 540.
Otherwise, “defendants against whom claims of wrongful conduct have been made could escape
class-wide review due solely to the size of their businesses or the manner in which their business

records were maintained.” Id. (internal quotation omitted). Indeed, as the Sixth Circuit has held,

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lt is often the case that class action litigation grows out of systemic failures of

administration, policy application, or records management that result in small

monetary losses to large numbers of people. To allow that same systemic failure

to defeat class certification would undermine the very purpose of class action

remedies
!d.

Nationstar argues that the proposed class definitions create an unascertainable class
because class membership requires an individualized, fact-specific inquiry: “to be a member of
any of the four proposed classes, a person must have received an informational mortgage loan
statement or lender-placed insurance letter after filing a Statement of lntent to surrender the
property and ‘vacating the real property.”’ (ECF No. 51 at 1‘?). But whether a class is
ascertainable is a totally distinct inquiry from whether class membership requires an
individualized inquiry. Ascertainability requires only the existence of objective criteria upon
which class membership is based. l’oung v. Nationwr'de Mut. Ins. Co., 693 F.3d 532, 538-39
(6th Cir. 2012) (holding that “[f]or a class to be sufficiently defined, the court must be able to
resolve the question of whether class members are included or excluded ii‘om the class by
reference to objective criteria” (quoting MooRE’s FEDERAL PRACTICE§ 23.21[3] (citations
omitted)). To illustrate the difference between ascertainability and susceptibility to
individualized inquiry, consider, for example, a class defined as “all people in the State of Ohio
who currently have a pint of mint chocolate chip ice cream in the freezer.” Such a class is
certainly ascertainable: every Ohioan either is a class member, or she is not. The inquiry is an
objective one. But-at least to this Court’s knowledge-there is no centralized list of Ohioan

mint chocolate chip ice cream enthusiasts that would obviate the need for an individualized

inquiry to compile the class.

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Here, Plaintifi’s proposed class definition carries all the indicia of objective criteria: if an
individual received specific letters ii‘om Defendant after filing a Statement of Intent and vacating
the property, that individual is a class member. Whether an individual received a debt collection
letter alier filing a Statement of Intent and vacating the property is_like the mint chocolate chip
inquiry-an inquiry based solely on objective criteria. Far li'om being hopelessly

unascertainable, the contours of the class could not be clearer.

B. The Proposed Classes are th Overly Broad

A class is overly broad when it captures in its membership individuals who were not
hanned. Edwards v. McConnick, 196 F.R.D. 48?, 492 (S.D. Ohio 2000) (citing Pagan v.
Dubor's, 884 F.Supp. 25 (D.Mass. 1995)). Nationstar argues that the FDCPA classes are overly
broad because the class definition makes no attempt to limit liability only to those plaintiffs who
received “false, deceptive, or misleading” documents It is true, as both parties concede, that
“not every communication with a bankrupt debtor is prohibited after discharge.” (ECF No. 48 at
14; ECF No. 51 at 23). But here, the class definition limits membership to only those individuals
who receive communications in circumstances that could_if Plaintif’l`s’ theory of liability is
correct_render the documents false, deceptive or misleading. The proposed definition of the
FDCPA class therefore does not capture individuals who were not potentially harmed.

As to the discharge injunction classes, Nationstar argues that they are overly broad
because they capture those borrowers who vacate the property but nevertheless wish to retain the
property by continuing to make payments to the lender. In Nationstar’s view, those borrowers
fall into the following discharge injunction exception in the Bankruptcy Code, thereby rendering

lawful Def`endant’s post-discharge efforts to contact borrowers:

[A]n act by a creditor that is the holder of a secured claim, if-

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(l) such creditor retains a security interest in real property that is the principal
residence of the debtor;

(2) such act is in the ordinary course of business between the creditor and the
debtor; and

(3) such act is limited to seeking or obtaining periodic payments associated with a
valid security interest in lieu of pursuit of in rem relief to enforce the lien.
il U.S.C. § 5240).

But the proposed class definition accounts for this statutory exception to the discharge
injunction. After an individual physically vacates the property in question, it is no longer the
“principal residence of the debtor” and cannot be subject to the exception. Br`bolotn' v. Am.
Home Mortg. .S`ervr`cing, Inc., No. 4:l l-CV-4?2, 2013 WL 2147949, at *8 (E.D. Tex. May l$,
2013). Every proposed class definition contemplates that the putative class member has already
vacated the property. And unlike in Se£!ers v. Rushmore Loan Management Servr'ces, LLC the
risk that a putative class member would fall into the § 524(]) exception is mitigated by the fact
that Nationstar’s own records reveal whether a property has been vacated. Sellers v. Rushmore
Loan Mgmt. Servs., LLC, No. 3:15-CV-l 106-1-32PDB, 201'?l WL 6344315, at *4 (M.D. Fla. Dec.
12, 2017), reconsideration denied,No. 3115-CV-1106-J-32PDB, 2018 WL 340009 (M.D. Fla.
Jan. 9, 2018). These records form a sufficient basis upon which to conclude that the property has
been vacated and no longer is the principal residence of the debtor. No lirrther individualized
proof would be required, let alone a series of individualized mini-trials. The Court therefore

concludes that the classes are not overly broad.

C. Plaintifl's Meet the Commonality Requlrement

To satisfy the commonality requirement of Rule 23(a)(2), Plaintiffs must “demonstrate
that the class members ‘have suffered the same injury."’ WaI-Mart Stores. Inc. v. Dukes, 564
U.S. 338, 349-50 (2011) (internal quotation omitted). At the class certification stage, Plaintiffs

need not prove “that all or most class members were in fact injured to meet this requirement."

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Rikos v. Procrer & Gamble Co., 799 F.3d 497, 505 (6th Cir. 2015). To certify a class, “[t]here
need be only one common question.” fn re Whr'rlpool Corp. From-Loading Washer Prods'. Lr'ab.
Lr'tr'g., 722 F.3d 838, 853 (6th Cir. 2013). Tlris question, however, must be “of such a nature that
it is capable of classwide resolution-which means that determination of its truth or falsity will
resolve an issue that is central to the validity of each one of the claims in one stroke.” Id. at 852
(quoting Dukes, 564 U.S. at 350). As the Sixth Circuit explained, “named plaintiffs must show
that there is a common question that will yield a common answer for the class (to be resolved
later at the merits stage), and that that common answer relates to the actual theory of liability in
the case.” Rikos, 799 F.3d at 505.
Plaintiffs claim that the two following common questions of law exist in this case:
First: After receiving your Chapter '? bankruptcy discharge1 and after vacating
your surrendered residence, did Nationstar send you at least one monthly
Mortgage Loan Statement of type exemplified in Exemplar Exhibit A? If the
answer is yes, then you are member of FDCPA Class l (and §524(a) Class 3 if
your Bankruptcy case was filed in the S.D. Ohio). (ECF No. 48 at 21).
Second: After receiving your bankruptcy discharge, and after vacating your
surrendered residence, did Nationstar send you at least one of the Force-Placed
Insurance communications exemplified by Exemplar Exhibits B and C? lf the
answer is yes, then you are member of Class 2 and (Class 4 if you filed your
Chapter 7 bankruptcy in the S.D. Ohio).
(ECF No. 48 at 22).
Nationstar counters that “[t]he fatal flaw in Plaintiff’s argument is that the loan
statements and lender-placed insurance letters do not per se violate the FDCPA or the Discharge
Injunction, even when the borrowers vacated their surrendered residences." (ECF No. 51 at 26).

Specilically, Nationstar argues that some borrowers in the putative class may have voluntarily

continued to make payments and that, as to those borrowers, the letters would not be false,

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deceptive or misleading (Id.). As a result, Nationstar believes that individualized questions as
to the post-discharge relationship would have to be answered in order to adjudicate liability.

But here, the proposed class definitions explicitly include only those putative class
members who both vacated the property and “filed and served a Statement of lntention . . .
pursuant to ll U.S.C. §52l(a)(2)(A) stating an intention to surrender residential real property
that was/is security for a debt serviced by Nationstar.” In other words, the post-discharge
relationship is not adjudicated_as Nationstar seems to fear-simply by reference to whether a
borrower physically vacated their Surrcndcred residences. Instead, it is defined both by reference
to a document that governs the post-discharge relationship and by the observations of
Nationstar’s own contractors as to the occupancy status of the house. Unlike in Thus, once the
class is identified, no thomy questions as to the exact nature of the post-discharge relationship
remain live. The only remaining questions are those that would advance the litigation by either
establishing or relieving Nationstar of its alleged liability. The Court therefore finds that

Plaintif’fs satisfy the commonality requirement

D. Plaintiffs Meet the Typicality Requirement

Rule 23(a)(3) requires that “claims or defenses of the representative parties [be] typical of
the claims or defenses of the class." The typicality requirement

determines whether a sufficient relationship exists between the injury to the named
plaintiff and the conduct affecting the class, so that the court may properly attribute a
collective nature to the challenged conduct. In other words, when such a relationship is
shown, a plaintiffs injury arises from or is directly related to a wrong to a class, and that
wrong includes the wrong to the plaintiff Thus, a plaintiffs claim is typical if it arises
from the same event or practice or course of conduct that gives rise to the claims of other
class members, and if his or her claims are based on the same legal theory.

l HERBERT B. NEwBEnG & ALBA CoNTE, NEWBF.RG oN CLASS AcTtoNs, § 3-13, at 3-‘76 (3d ed.

1992). Put simply, to meet the typicality requirement, the class members’ claims must be “fairly

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encompassed by the named plaintiffs‘ claims." Whirq)ool, 722 F.3d at 852. A claim meets this
requirement if it “arises fi'om the same event or practice or course of conduct that gives rise to
the claims of other class members, and if his or her claims are based on the same legal theory.“
Bea!t‘r'e v. CenturyTel, Inc., 511 F.3d 554, 561 (6th Cir. 2007) (quoting fn re Am. Med. Sys., lnc.,
75 F.3d at 1082. lf a plaintiff, in proving his own claim, has “not necessarily . . . proved
anybody else’s claim,” then his claim is not typical. Beattr'e v. CentwyTe!, Inc., 511 F.3d 554,
561 (6th Cir. 2007) (internal quotations omitted). Finally, “a representatives claim need not
always involve the same facts or law, provided there is a common element of fact or law." Id.
(intemal quotations omitted).

Here, Nationstar argues that Mr. McNamee’s claim is distinct from the claims of other
members of the putative class because he, in effect, halted the sale of the property by seeking a
contempt order from the Bankruptcy Court. (ECF No. 51 at 12). The argument goes that
“[b]ecause the foreclosure was halted, Plaintiff retained title, and informational statements and
insurance letters continued to be generated and sent to Plaintif"f. Had the statements been
‘valueless’ or ‘unwanted,’ Plaintiff easily could have contacted Nationstar to ask that Nationstar
stop sending them. Although every informational statement indicated that Plaintiff could call
Nationstar to request that Nationstar stop all communications and indicated on their face that
they were not an attempt to collect a debt, Plaintiff never contacted Nationstar and never made
any such request." (Id. (internal citations omitted)).

But, as discussed above, the claims of the named plaintiff in a class action need not be
absolutely identical in every way to the claims of other plaintiffs; it need only be identical in the
ways that matter. And here, Nationstar had sent Mr. McNarnee the two varieties of debt

collection letters that form the basis of the putative class action. The mere fact that he may have

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been able to stop the communications by contacting Nationstar in no sense renders his claims
atypical or his representation of the class inadequate

Additionally, whether an individual may have been able to stop the communications from
occurring does not necessarily bear on the statement’s inherent capacity to mislead. The Sixth
Circuit employs an objective, “lcast-sophisticated-consum ” test to ascertain whether a
statement qualifies as misleading. Mr'ller v. Javitch, Block & Rathbone, 561 F.3d 588, 592 (6th
Cir. 2009) (quoting Kr'st‘ner v. Law OFr`ces ofrl/!r‘chr:relr P. Margefef.ilty LLC, 518 F.3d 433, 438-39
(6th Cir. 2008)). Under this standard, a basic level of understanding is presumed, but naive
consumers are protected Id. Nationstar has not marshaled any evidence that would lead this
Court to conclude that an unsophisticated consumer would understand that the statements could
be halted by contacting the company. The Court therefore concludes that even if Nationstar is
correct that Mr. McNamee could have contacted the company to stop the letters, his claims are
not atypical to the class.

E. Plaintiffs Meet the Rule 23(b)(3) requirements of Predominance and Superiority

“When the prerequisites of Rule 23(a) are satisfied, an action may be maintained as a
class action when it qualifies under any one of three conditions set forth in Rule 23(b).” Swr`gart,
288 F.R.D. at 186. Here, Mr. McNamee seeks class certification under Rule 23(b)(3), “which
permits certification when ‘questions of law or fact common to class members predominate over
any questions affecting only individual members,‘ and when ‘a class action is superior to other

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methods available for fairly and efficiently adjudicating the controversy Myers v. Marier‘t‘a
Mem 'I Hosp., No. 2:15-CV-2956, 2017 WL 397?956, at *8 (S.D. Ohio Sept. ll, 201?) (quoting
Fed. R. Civ. P. 23(b)(3)). These requirements are “designed to achieve economics of time,

effort, and expense, and promote . . . uniformity of decision as to persons similarly situated,

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without sacrificing procedural fairness or bringing about other undesirable results.“ Pr'pefitters
Locaf 636 Ias. Fund v. Bfue Cross Blue Shr’eld of Mr'chr`gaa, 654 F.3d 618, 630 (6th Cir. 2011)
(quoting Amchem Prod., fnc. v. Wr`ndsor, 521 U.S. 591, 615 (1997) (internai quotation marks
omitted)). Nationstar argues that the proposed class definitions meet neither the predominance
requirement nor the superiority requirement Each is addressed in turn below.

!. Predominarrce

To establish predominance, the “named plaintiffs must show, and district courts must
find, that questions of law or fact common to members of the class predominate over any
questions that affect only individual members.” Whr'rlpoo!, 222 F.3d at 860. Generally, in light
of the interplay between the requirements of Rule 23(a) and (b), “a finding of commonality will
likely satisfy a finding of predomination." Myers v. Marr'erra Mem ’l Hosp., No. 2:15-CV-2956,
201? WL 3977956, at *8 (S.D. Ohio Sept. ll, 2017). Here, predominance is satisfied because
the questions of liability are common to each putative class member who, after receiving
bankruptcy discharge and vacating their surrendered residence, received either a Mortgage Loan
Statement or a Force-Placed lnsurance Communication.

2. Superr'orr`ty

For a class to be certified, the class method must be “superior to other available methods
for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Rule 23(b)(3)
lists four factors to be considered in determining the superiority of proceeding as a class action
compared to other methods of adjudication: (l) the interests of the members of the class in
individually controlling the prosecution of separate actions; (2) the extent and nature of other
pending litigation about the controversy by members of the class; (3) the desirability of
concentrating the litigation in a particular forum; and (4) the difficulties likely to be encountered

in management of the class action. Id. All of these actors weigh in favor of class certification

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Nationstar argues that because attemeys’ fees are recoverable in FDCPA actions, the
barrier to bringing an individual action is low. (ECF No. 51 at 35). The reality, however, is that
litigation is likely too costly_both in time and in money_for individual plaintiffs to vindicate
their rights under the statute. Moreover, plaintiffs have no independent interest in individual
litigation as they may prove class member claims through representative evidence. Myers v.
Marie!ra Mem 'f Hosp., No. 2:15-CV-2956, 2017 WL 3977956, at *8 (S.D. Ohio Sept. ll, 2017)
(citing fyson Foods, lnc. v. Boaaphakeo, 136 S. Ct. 1036 (2016)). Finally, as discussed in Part
lII(C) supra, the Court does not anticipate that individualized inquiries will be necessary to
ascertain class members’ intentions with respect to their real property. For these reasons, the
Court finds that Plaintif’fs have satisfied the requirements of Rule 23(b)(3).

IV. CONCLUSION

The Court certifies this action as a class action, and designates Plaintif’f` as the
representative of the four classes outlined below:

Class 1 (Nationwide): as to the lssues of FDCPA Liability and Statutory Damages:
Any person who (i) who received a Chapter 7 bankruptcy discharge in a bankruptcy case
filed in the U.S. Bankruptcy Courts on or after January l, 2012 and on or before .Ianuary
31, 2015; (ii) who filed and served a Statement of lntention therein pursuant to ll U.S.C.
§521(a](2)(A) stating an intention to surrender residential real property that wasfis
security for a debt serviced by Nationstar; and (iii) who, after vacating the real property,
were mailed by Nationstar, one or more Mortgage Loan Statements of the type
exemplified by the attached Exemplar Exhibit A;

CLASS 2 (Nationwide): as to the lssues of FDCPA Liability and Statutory
Damages: Any person who (i) received a Chapter 7 bankruptcy discharge in a
bankruptcy case filed in the U.S. Bankruptcy Courts on or after January l, 2012 and the
present; (ii) who filed and served a Statement of lntention pursuant to ll U.S.C.
§521(a)(2)(A) stating an intention to surrender residential real property that was/is
security for a debt serviced by Nationstar; and (iii) who, after vacating the real property,
were mailed by Nationstar, at least one Force-Placed lnsurance letter of the type
exemplified by the attached Exemplar Exhibits B and C;

CLASS 3 (S.D. Ohio]: as to the lssue of Whether Nationstar Violated ll U.S.C.
§524(a): Any person who (i) who received a Chapter 7 bankruptcy discharge in a
bankruptcy case filed in the U.S. Bankruptcy Courts for the S.D. Ohio on or after January

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l, 2012 and on or before January 31, 2015; (ii) who filed and served a Statement of
lntention therein pursuant to ll U.S.C. §52l(a)(2)(A) stating an intention to surrender
residential real property that was/is security for a debt serviced by Nationstar; and (iii)
who, after vacating the real property, were mailed by Nationstar, one or more Mortgage
Loan Statements of` the type exemplified by the attached Exemplar Exhibit A;

CLASS 4 (S.D. Ohlo): as to the lssue of Whether Nationstar Violated ll U.S.C.

§524(a): Any person who (i) received a Chapter 7 bankruptcy discharge in a bankruptcy

case filed in the U.S. Bankruptcy Courts for the S.D. Ohio on or after January 1, 2012

and the present; (ii) who filed and served a Statement of lntention pursuant to 11 U.S.C.

§521(a)(2)(A} stating an intention to surrender residential real property that wasfis

security for a debt serviced by Nationstar; and (iii) who, after vacating the real property,

were mailed by Nationstar, at least one Force-Placed lnsurance letter of the type

exemplified by the attached Exemplar Exhibits B and C.

In addition, the Court designates the law firm of Nobile & Thompson Co., LPA as Class
Counsel pursuant to Rule 23(g) of the Federal Rules of Civil Procedure. The Court directs
Plaintif’fs’ counsel and counsel for Defendant to meet and confer, and to provide the Court with a
proposed plan for providing notice to the potential class action members. The parties shall report
to the Court within thirty (30) days of this Order with such proposed plan. If the parties are
unable to agree on notiee, the parties shall submit separate proposed notices by the same date.

lT lS SO ORDERED.

sf Algenon L. Marbley
ALGENON L. MARBLEY

UNITED STATES DlSTRlCT JUDGE

DATED: Mareh 30, 2018

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